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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2020 OK 71Case Number: SCBD-6972Decided: 09/14/2020As Corrected: September 17, 2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 71, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2019

ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE RULES FOR MANDATORY CONTINUING LEGAL EDUCATION

On August 28, 2020, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2019 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B and in compliance with SCAD 2020-24 and SCAD 2020-29. The Board of Governors recommended the members, whose names appear on the Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.
This Court finds that on March 13, 2020, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.
This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.
IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2019.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 14TH DAY OF SEPTEMBER, 2020.

/S/CHIEF JUSTICE

ALL JUSTICES CONCUR
&nbsp;


&nbsp;
Charles Robert Burton IV, OBA No. 14195The Burton Law Firm, P.C.1611 South Utica Ave., #335Tulsa, OK 74104-4909
Heather Ryan Campbell, OBA No. 329431830 Shelby Ln.Fayetteville, AR 72704
Tuan Anh Khuu, OBA No. 173076508 NW 127th St.Oklahoma City, OK 73142
Kara Elizabeth Moore, OBA No. 30180329 N.E. 3rd St., #204Oklahoma City, OK 73104
Lisa Patel, OBA No. 113254639 S. Quaker Ave.Tulsa, OK 74105-4721
Peter Joseph Regan, OBA No. 196964124 S. Rockford Ave., Ste. 201Tulsa, OK 74105
Chad Robert Reineke, 20316P.O. Box 14733Oklahoma City, OK 73113-0733
Robert Carlyle Scott, OBA No. 227091120 NW 51st StreetOklahoma City, OK 73118
Joshua Michael Snavely, OBA No. 30260601 N. Broadway, APT 201Oklahoma City, OK 73102
Brandon Duane Watkins, OBA 18868713 N.E. 4th StreetPerkins, OK 74059




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